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8                          UNITED STATES DISTRICT COURT
9                     SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )    Case No. 19CR4643-H
                                             )
12                           Plaintiff,      )
                                             )    ORDER ACCEPTING PLEA
                      v.                     )
13                                           )
                                             )
14   DEEPANSHU KHER,                         )
                                             )
15                           Defendant.      )
                                             )
16                                           )
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18        No objections having been filed, IT IS ORDERED that the Findings and
19   Recommendation of the Magistrate Judge are adopted and this Court accepts
20   Defendant’s PLEA OF GUILTY to Count 1 of the Indictment.
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22        DATED: October 13, 2020         ________________________________
                                          HONORABLE MARILYN L. HUFF
23
                                          UNITED STATES DISTRICT JUDGE
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